Case 2:06-cr-02157-RHW   ECF No. 98   filed 11/30/07   PageID.210 Page 1 of 6
Case 2:06-cr-02157-RHW   ECF No. 98   filed 11/30/07   PageID.211 Page 2 of 6
Case 2:06-cr-02157-RHW   ECF No. 98   filed 11/30/07   PageID.212 Page 3 of 6
Case 2:06-cr-02157-RHW   ECF No. 98   filed 11/30/07   PageID.213 Page 4 of 6
Case 2:06-cr-02157-RHW   ECF No. 98   filed 11/30/07   PageID.214 Page 5 of 6
Case 2:06-cr-02157-RHW   ECF No. 98   filed 11/30/07   PageID.215 Page 6 of 6
